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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION


ERIC DOUGLAS,

               Plaintiff,                                    Civil Action No.
                                                             25-CV-11113
v.
                                                             HON. MARK A. GOLDSMITH
JASWINDER SINGH PARMAR, et al.,

            Defendants.
_______________________________________/

                                 ORDER REGARDING REMOVAL

               This matter has been removed to this Court. See Notice of Removal (Dkt. 1).

Within five (5) days of today’s date, the removing party shall file with this Court — as separate

docket entries — all answers, amended pleadings, responsive pleadings, pending motions, and

responses/replies to those motions that were originally filed in state court. The Court generally

will not consider any unresolved motions pending in state court at the time of removal, unless they

have been re-filed on this Court's docket. The same is true for any responses or replies that had

been filed in state court in connection with motions not yet resolved at the time of removal.

       To the extent briefing has not been completed on a pending motion at the time of removal,

the briefing schedule set forth in Local Rule 7.1(e) applies upon docketing with this Court, unless

the Court orders otherwise.

       SO ORDERED.

Dated: April 29, 2025                        s/Mark A. Goldsmith
Detroit, Michigan                            MARK A. GOLDSMITH
                                             United States District Judge
